Case 2:21-cv-20706-MEF-ESK Document 18 Filed 11/10/22 Page 1 of 3 PageID: 177




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



   JOHN DOE,
                                              Case No. 21–cv–20706–SDW–ESK
             Plaintiff,

       v.
                                                             ORDER
   BAILA SEBROW,

             Defendant.


        THIS MATTER having come before the Court pursuant to Federal Rule of
  Civil Procedure (Rule) 16 for an initial scheduling conference on November 10,
  2022; and defendant’s counsel having failed to appear for the conference; and
  defendant’s counsel having also failed cooperate with plaintiff’s counsel in
  preparing a joint proposed discovery plan (ECF No. 17-1); and plaintiff’s counsel
  having, thus, having to file a proposed discovery plan without defendant’s
  counsel’s input (ECF No. 17); and for good cause appearing,

            IT IS on this 10th day of November 2022 ORDERED that:

        1.  An in-person settlement conference is scheduled for December 21,
  2022 at 1:30 p.m. before Magistrate Judge Edward S. Kiel. Attendance by trial
  counsel, as well as persons with full settlement authority, is mandatory. Each
  party shall submit by email, to ESK_orders@njd.uscourts.gov, a confidential
  settlement memorandum of no more than ten double-spaced pages, with an
  accompanying cover letter, no later than five business days before the conference.
  The cover letter shall exclude all confidential information and shall be filed,
  without enclosure, on the Court’s electronic docket to confirm submission of the
  memorandum to the Court’s email address.

        2.    The imposition of sanctions is appropriate for defendant’s counsel’s
  failure to appear for the conference, failure to prepare substantially to participate
  in the conference, and failure to obey the Court’s order. See Fed.R.Civ.P. 16(f).
  Accordingly, plaintiff’s counsel is directed to file an affidavit of services for
  preparation of the proposed joint discovery plan, preparation for the conference,
  and attendance at the conference by November 23, 2022 . Defendant may file
  a response to the affidavit by December 8, 2022. The imposition of sanctions
  shall be addressed at the in-person settlement conference.
Case 2:21-cv-20706-MEF-ESK Document 18 Filed 11/10/22 Page 2 of 3 PageID: 178




       3.    The opportunity to appear and argue before the Court is valuable to
  becoming a competent and experienced attorney. The Court encourages law
  firms and litigants to provide this opportunity to less experienced attorneys,
  especially where these attorneys drafted or significantly contributed to motions
  and responses.

       4.    The parties shall exchange the information required under Rule.
  26(a)(1) by November 12, 2022.

       5.   The parties shall meet and confer for an e-discovery conference
  pursuant to Local Rule 26.1(d) by November 19, 2022.

        6.   Fact discovery is to remain open through February 17, 2023. All
  depositions of fact witnesses must be completed by the close of fact discovery. No
  fact discovery shall be issued or engaged in beyond that date, except for good cause
  shown.

       7.   Motions to add new parties, whether by amended or third-party
  complaint, and motions to amend pleadings must be filed no later than March
  17, 2023.

       8.    The parties may serve initial written discovery requests on or before
  November 19, 2022. Interrogatories shall be limited to 25 single questions,
  inclusive of subparts.

       9.   The number of depositions to be taken by each side shall not exceed 5.

       10. The parties are directed to Rule 26(f) and Local Rule 26.1, which
  address preservation of discoverable information, discovery of electronically
  stored information, claims of privilege or work product protection, and the
  obligations of counsel concerning their clients’ information management systems.

       11. The parties are directed to the Court’s civil case management order,
  which can be found here, for procedures concerning discovery disputes, motion
  practice, and requests for extensions and adjournments. All disputes relating to
  written discovery requests shall be brought before the Court pursuant to the
  Court’s civil case management order by January 31, 2023, or shall be deemed
  waived and will not be considered by the Court.

        12. All affirmative expert reports shall be served by February 28, 2023.
  All responsive expert reports shall be served by March 17, 2023. Depositions of
  all experts shall be completed by April 17, 2023. All expert reports shall
  comport with the form and content requirements set forth in Rule 26(a)(2)(B).




                                           2
Case 2:21-cv-20706-MEF-ESK Document 18 Filed 11/10/22 Page 3 of 3 PageID: 179




  No expert may testify at trial as to any opinions or facts not substantially
  disclosed in the expert’s report.

       13. Proposed confidentiality orders, submitted upon the consent of the
  parties, must comply with Rule 26(c), Local Rule 5.3, and applicable case law.

       14. Parties and attorneys are encouraged to advise the Court of their
  preferred pronouns in the signature lines of pleadings, by advising the courtroom
  deputy before a hearing, or by orally advising the Court at a hearing.



                                                /s/ Edward S. Kiel
                                               EDWARD S. KIEL
                                               UNITED STATES MAGISTRATE JUDGE




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